                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                    Plaintiff,

             v.                                             Case No. 15-CR-117

TOM HORTON,

                    Defendant.


                      REPORT AND RECOMMENDATION
                     ON DEFENDANT’S CHANGE OF PLEA


      The United States of America and the defendant, Tom Horton, who was

represented by counsel, appeared before me for a change of plea colloquy pursuant to

Fed. R. Crim. P. 11 on November 2, 2016. ECF No. 480. Mr. Horton consented to my

conducting the change of plea colloquy, while the United States did not. I explained

that it would be for the U.S. District Judge alone, not me, to enter the plea and that

my role was to conduct the plea colloquy and then to prepare a report and

recommendation for ultimate disposition by Judge Pepper.

      After Mr. Horton was placed under oath and advised as to the implications of

being untruthful, I questioned him about his competency to go forward with the

hearing given that he had recent back surgery. Mr. Horton advised that he had not

taken any pain medications prior to the hearing and that he was physically and

mentally prepared to proceed. I then discussed in detail each of the subjects specified

in Rule 11, including the rights he would surrender by entering a plea of guilty, the



       Case 2:15-cr-00117-PP     Filed 11/10/16   Page 1 of 3    Document 483
maximum penalties associated with the charged offense, and the authority of the

sentencing judge to disregard any recommendations in the plea agreement and to

give Mr. Horton a maximum sentence.

      At the conclusion of this colloquy, I determined that the guilty plea was

knowing and voluntary and was not induced by threats or by promises not contained

in the plea agreement. I found that there was an independent factual basis

containing each of the essential elements of the offense charged, knowingly and

intentionally using a communication facility in facilitating the commission of a drug

trafficking crime. Mr. Horton advised that he was pleading guilty to the charged

offense because he was, in fact, guilty and that the government could prove beyond a

reasonable doubt that he was guilty of the charged offense. Finally, I found that, in

responding to my questions, Mr. Horton was candid, lucid, respectful, and

non-evasive, fully accepting responsibility for and acknowledging the unlawfulness of

his conduct.

      NOW, THEREFORE, IT IS HEREBY RECOMMENDED that defendant

Tom Horton’s plea of guilty be accepted; that a presentence investigation and report

be prepared according to the schedule set by the Court; and that Mr. Horton be

adjudicated guilty and have sentence imposed accordingly.

      Your attention is directed to 28 U.S.C. § 636(b)(1)(B) and (C), Fed. R. Crim. P.

59(b), and E.D. Wis. Gen. L. R. 72(c), whereby written objections to any

recommendation herein, or part thereof, may be filed within fourteen days of service

of this Recommendation or prior to the Final Pretrial Conference, whichever is


                                          2

       Case 2:15-cr-00117-PP     Filed 11/10/16   Page 2 of 3   Document 483
earlier. Objections are to be filed in accordance with the Eastern District of

Wisconsin’s electronic case filing procedures. Failure to file a timely objection with

the district court shall result in a waiver of your right to appeal. If no response or

reply will be filed, please notify the Court in writing.

      Dated at Milwaukee, Wisconsin, this 10th day of November, 2016.

                                                BY THE COURT:


                                                s/ David E. Jones
                                                DAVID E. JONES
                                                United States Magistrate Judge




                                            3

       Case 2:15-cr-00117-PP      Filed 11/10/16    Page 3 of 3    Document 483
